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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


ASSOCIATION OF AMERICAN RAILROADS,

              Plaintiff,
                                                   Case No.
       v.
                                                   Judge
DAVE YOST,
                                                   Magistrate Judge
  Ohio Attorney General; and
JENIFER FRENCH,
DANIEL R. CONWAY,
                                                     COMPLAINT FOR DECLARATORY
DENNIS P. DETERS,
                                                        AND INJUNCTIVE RELIEF
LAWRENCE K. FRIEDEMAN, and
JOHN D. WILLIAMS,
                                                   CLAIM OF UNCONSTITUTIONALITY
  Commissioners of the Ohio Public
  Utilities Commission,
in their official capacities,

              Defendants.



       Plaintiff Association of American Railroads (“AAR”) alleges:

                               PRELIMINARY STATEMENT

       1.     Congress has exercised broad regulatory authority over rail transportation for well

over a century. During that time, Congress and federal regulatory agencies, including the

Federal Railroad Administration (“FRA”) and the Surface Transportation Board (“STB”), have

allowed railroads to set minimum crew sizes through collective bargaining, rather than imposing

such requirements by law.

       2.     Congress has expressly prohibited Ohio from establishing a minimum crew size.

In 1973, Congress enacted the Regional Rail Reorganization Act (“3R Act”) to address a railway

crisis in the Northeast and Midwest. “The 3R Act was designed to reorganize the railroads in

those regions, bringing them under the control of a new government corporation [Conrail] that


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would create a plan to turn them into an economically viable railway system.” Ind. R.R. Co. v.

Ill. Com. Comm’n, 576 F. Supp. 3d 571, 575 (N.D. Ill. 2021).

       3.        In the Northeast Rail Service Act of 1981, Congress amended Section 711 of the

3R Act to include an express preemption clause. As amended, Section 711 of the 3R Act

provides that:

       No State may adopt or continue in force any law, rule, regulation, order, or standard
       requiring the Corporation [Conrail] to employ any specified number of persons to
       perform any particular task, function, or operation, or requiring the Corporation to pay
       protective benefits to employees, and no State in the Region may adopt or continue in
       force any such law, rule, regulation, order, or standard with respect to any railroad in
       the Region.

45 U.S.C. § 797j (emphasis added).

       4.        Ohio is a “State in the Region,” as defined by Section 102 of the 3R Act, see 45

U.S.C. § 702(17), (19).

       5.        The plain text of the 3R Act thus prohibits Ohio from adopting any law requiring

any railroad in the State to employ any specified number of persons to perform any particular

task, function, or operation.

       6.        Nonetheless, in March 2023, Ohio enacted Ohio Rev. Code § 4999.09 (effective

June 30, 2023) (the “Crew Size Law”), which requires that all freight railroads operate in almost

all circumstances with at least two crew members.

       7.        The Crew Size Law mandates that “[a] train or light engine used in connection

with the movement of freight shall have a crew that consists of at least two individuals.” Ohio

Rev. Code § 4999.09(B). It provides exceptions only for “hostler service or utility employees.”

Id. When the Crew Size Law takes effect on June 30, 2023, Defendants Jenifer French (Chair),

Daniel R. Conway, Dennis P. Deters, Lawrence K. Friedeman, and John Williams, as

Commissioners of the Ohio Public Utilities Commission, will have power to enforce the Crew


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Size Law by imposing civil penalties, which Defendant Dave Yost, as the Ohio Attorney

General, will have the power to collect. Id. § 4999.09(C).

       8.      “The [3R] Act defined a region that includes [Ohio], and set out certain

restrictions on how states in that region can regulate railroads. [Ohio] must abide by those

restrictions, and in passing the Crew Size Law, it failed to do so.” Ind. R.R. Co., 576 F. Supp. 3d

at 577; see also id. at 576 (“[Ohio] wants to mandate a crew size of two to perform the task,

function or operation of moving freight with a train or light engine; this is exactly what the 3R

Act prohibits.”). As a result, the 3R Act preempts the Crew Size Law.

       9.      Alternatively, the Crew Size Law is preempted by the ICC Termination Act

(“ICCTA”), 49 U.S.C. § 10501(b), which grants exclusive authority to the STB to regulate

matters falling within its broad scope.

       10.     The Crew Size Law is also preempted in part by the Federal Railroad Safety Act

(“FRSA”), 49 U.S.C. § 20106.

       11.     FRA has carefully considered the need for multi-person crews for two specific

types of operations: (1) “helper service,” or using a locomotive to assist another train that has

incurred mechanical failure or lacks the power to traverse difficult terrain; and (2) “remote

control operations,” or using a radio transmitter and receiver system to operate a locomotive by a

person not physically located at the controls in the locomotive cab.

       12.     With respect to each, FRA has determined that no minimum crew-size regulation

is necessary or appropriate. See BNSF Ry. Co. v. Doyle, 186 F.3d 790, 801-02 (7th Cir. 1999)

(helper service); FRA, Denial of BLET Petition on RCO and Other Single-Person Operations

(Nov. 10, 2009) (remote control operations).




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       13.     Under FRSA, FRA’s determination that no such regulation is appropriate

preempts any state law purporting to establish such a requirement. See, e.g., Norfolk & W. Ry.

Co. v. Pub. Utils. Comm’n of Ohio, 926 F.2d 567, 570 (6th Cir. 1991). Accordingly, to the

extent that the Crew Size Law requires two-person crews for helper service or remote control

operations, it is preempted.

       14.     Plaintiff seeks a declaration that the Crew Size Law is preempted in full or in part.

       15.     Plaintiff also seeks an injunction preventing Defendants from enforcing the Crew

Size Law. As explained below, the Crew Size Law cannot be squared with these federal laws or

with Congress’ extensive control over railroad operations. If not enjoined, the Crew Size Law

would subject Plaintiff’s members to immediate and threatened injury, because they would be

put to the untenable choice of defying the Crew Size Law and subjecting themselves to civil

penalties or complying with the Law and giving up their right under federal law to operate safely

and efficiently, unencumbered by minimum-crew-size requirements.

                                            PARTIES

       16.     Plaintiff Association of American Railroads is a nonprofit trade association whose

members include all of the Class I freight railroads (North America’s largest freight railroads),

smaller freight railroads, and passenger and commuter railroads. AAR’s members operate

approximately 83 percent of the line-haul mileage, employ 95 percent of the workers, and

account for 97 percent of the freight revenues of all railroads in the United States. AAR and its

members are committed to operating the safest, most efficient, cost-effective, and

environmentally sound freight rail transportation system in the world. AAR represents its

member railroads in proceedings before Congress, administrative agencies, and the courts in

matters of common interest, such as the issues involved in this lawsuit. AAR members,

including Canadian National Railway, CSX Transportation, and Norfolk Southern Railway,

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operate in Ohio. CSX Transportation and Norfolk Southern Railway use one-person crews in

Ohio for certain yard operations, including remote control switching operations.

        17.     Defendant Dave Yost is the Ohio Attorney General. As of June 30, 2023, the

Attorney General will have authority, “upon the request of the public utilities commission,” to

“bring a civil action to collect” civil penalties assessed under the Crew Size Law. Ohio Rev.

Code § 4999.09(C)(2).

        18.     Defendant Jenifer French is the Chair, and Defendants Daniel R. Conway, Dennis

P. Deters, Lawrence K. Friedeman, and John Williams are Commissioners, of the Ohio Public

Utilities Commission (“Commission”). Those individuals were appointed by the Governor and

confirmed by the Ohio Senate for five-year terms. As of June 30, 2023, the Commission will

have authority to “assess a civil penalty against a person who willfully violates” the Crew Size

Law. Ohio Rev. Code § 4999.09(C)(1).

                                 JURISDICTION AND VENUE

        19.     This Court has jurisdiction under 28 U.S.C. § 1331 because the case arises under

(i) the Supremacy Clause of the Constitution of the United States, Article VI, clause 2; and

(ii) the laws of the United States, including the 3R Act, ICCTA, and FRSA.

        20.     This Court may declare the legal rights and obligations of the parties in this action

under 28 U.S.C. § 2201 because this action presents an actual controversy within the Court’s

jurisdiction.

        21.     Venue is proper in this district under 28 U.S.C. § 1391(b).

        22.     AAR has associational standing to bring this suit on behalf of its members

because at least one of those members, including Canadian National Railway, CSX

Transportation, and Norfolk Southern Railway, will be directly, adversely, and imminently

affected by the Crew Size Law and thus would have standing to sue in its own right. If

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Defendants are not enjoined, AAR’s members face the “immediate or threatened injury” of

enforcement actions. Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 342 (1977).

Furthermore, the interests that AAR seeks to protect by way of this lawsuit are germane to the

organization’s purpose. Finally, neither the claims asserted nor the relief requested requires an

individual member of AAR to participate in this suit.

                                             FACTS

        A.      One-Person Crews Have Been Used Safely For Decades.

        23.     “[T]echnology has enabled a gradual reduction in the number of train

crewmembers from about five in the 1960s to about two by the end of the 1990s.” FRA, Train

Crew Size Safety Requirements, 87 Fed. Reg. 45,564, 45,567 (July 28, 2022) (notice of proposed

rulemaking). Among the “major technological breakthroughs” that enabled reduced crew sizes

were the advent of diesel locomotives, which eliminated the need for firemen, and “end-of-train

device[s],” which removed the need for a caboose and “one or more crewmembers to be at the

rear of a train.” Id.

        24.     For decades, freight railroads have used one-person crews safely in a variety of

contexts, both in the United States and in other countries.

        25.     Railroads in the United States have safely used one-person crews in a wide

variety of operating contexts for many years. For example, as “remotely controlled locomotive

operations” have become widespread over the last 25 years, “utilizing only a one-person crew for

switching service ha[s] become commonplace.” 87 Fed. Reg. at 45,567. In 2016, FRA

acknowledged not only that existing one-person operations “have not yet raised serious safety

concerns,” FRA, Train Crew Staffing, 81 Fed. Reg. 13,918, 13,950 (Mar. 15, 2016), but also that

“it is possible that one-person crews have contributed to the [industry’s] improving safety

record,” id. at 13,932 (emphasis added).

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       26.     An expert study by Oliver Wyman concluded, based on accident data, that single-

person train crew operations are just as safe as multiple-person operations. See Oliver Wyman,

Analysis of North American Freight Rail Single-Person Crews: Safety and Economics (Feb. 3,

2015), AAR Comments Ex. 3, FRA Docket No. FRA-2021-0032. The study compared

aggregate statistics on relevant equipment incidents and casualty incidents for 2007 through 2013

for operators using single-person crews versus operators using multiple-person crews. As to

equipment incidents, the study found that “[w]hile the data may not conclusively support a claim

that single-person crew operations are safer than multiple-person crew operations (given the

possible existence of other influencing factors), it does appear that single-person crew operations

are at least as safe as multiple-person crew operations.” Id. at 24. As to casualty incidents, the

study likewise found that “those rail operators using single-person crews are at least as safe as

their counterparts relying on multiple-person crew[s] to operate their trains.” Id. at 26.

       27.     A related study conducted by the consulting firm ICF International forecast

accident rates for one- and two-person crews once positive train control (“PTC”) was fully

implemented. See ICF Int’l, Evaluation of Single Crew Risks (Jan. 26, 2015), AAR Comments

Ex. 6, FRA Docket No. FRA-2021-0032. That study found virtually no difference in accident

rates between one- and two-person operations. See id. at 1. In fact, “[t]rain accidents due to

rollaways decrease by a factor of 10 with the removal of a second person from the cab due to

fewer potential situations and additional care taken when the sole operator leaves the cab.” Id. at

5.

       28.     Moreover, although the largest, Class I railroads typically do not use one-person

crews for mainline operations, many short line railroads in the United States operate with one-

person crews. Indeed, one such short line—Indiana Railroad Company (“INRD”), which is a



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250-mile regional railroad operating in Indiana and Illinois—was highlighted by FRA as having

safe operations. 87 Fed. Reg. at 45,568. Since 1997, it has been safely and effectively operating

with one-person crews. In 2021, INRD utilized one-person crew operations on about 31 train

starts per week. The implementation of one-person crew operations at INRD was the result of

research, innovation, and the use of new technology. Swindall Statement (Dec. 8, 2022), AAR

Comments Ex. 8, FRA Docket No. FRA-2021-0032.

       29.     INRD’s evidence and data—collected over more than two decades—establishes

that one-person crews are just as safe as two-person crews. INRD has had only one FRA-

reportable human factor incident involving a one-person crew in 25 years of one-person

operations. Of the non-FRA-reportable human factor incidents, while one-person crew

operations were 18.3% of INRD man-hours from 2006 through July 2022, they only accounted

for 5.9% of human factor incidents. In comparison, two-person crews were 81.7% of INRD

man-hours, but accounted for 94.1% of human factor incidents. Swindall Statement, at 5-6.

       30.     One-person crews are also commonly and safely used in other nations. See 81

Fed. Reg. at 13,932 (concluding that the “evidence … indicates that the safety records of these

foreign operations are acceptable”). In fact, there is an extensive body of safety data

documenting the performance of one-person crews in Europe. In the United Kingdom, for

example, where one-person freight operations are common, the Rail Safety and Standards Board

found that “one-person crews were at least as safe as multiple crew operations.” Regulatory

Impact Analysis, Train Crew Staffing—Notice of Proposed Rule Making, U.S. Dep’t of Transp.

21 (Feb. 18, 2016).

       31.     Oliver Wyman recently conducted a study analyzing the European data to

compare the safety performance of one-person crews versus two-person crews. See Oliver



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Wyman, Crew-Related Safety and Characteristic Comparison of European and US Railways

(Apr. 5, 2021), AAR Comments Ex. 2, FRA Docket No. FRA-2021-0032. The study reviewed

2006-2019 accident reporting data for 28 railroads in Europe (where 95 percent of rail traffic is

moved by one-person crews) and for the U.S. Class I railroads. Oliver Wyman “found no

evidence that railroads operating with two-person crews are statistically safer than railroads

operating with one-person crews.” Id. at 3. More generally, the study “found no significant

differences in safety statistics based on crew size.” Id.

       32.      In Ohio, AAR’s members have used one-person crews for remote control

operations safely for many years.

       B.       Congress Preempts Ohio From Regulating Crew Size Through The 3R Act.

       33.      Congress passed the 3R Act in 1974 to address a railway crisis in the Northeast

and Midwest.

       34.      The 3R Act was designed to reorganize the railroads in those regions, bringing

them under the control of a new government corporation—Conrail—that would create a plan to

turn them into an “economically viable [railway] system.” Blanchette v. Conn. Gen. Ins. Corps.,

419 U.S. 102, 109-17 (1974); 45 U.S.C. § 701(b)(2).

       35.      The 3R Act includes prescriptions specific to the region most affected by the

railway crisis the Act sought to remedy. That “Region” was defined to include 17 states,

including Ohio, as well as the District of Columbia and some “portions of contiguous States.” 45

U.S.C. § 702(17).

       36.      One of those prescriptions is an express preemption clause against crew-size

requirements:

       No State may adopt or continue in force any law, rule, regulation, order, or standard
       requiring the Corporation [Conrail] to employ any specified number of persons to
       perform any particular task, function, or operation, ... and no State in the Region may

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       adopt or continue in force any such law, rule, regulation, order, or standard with respect
       to any railroad in the Region.

45 U.S.C. § 797j (emphasis added).

       37.     Several “State[s] in the Region” have attempted to require minimum crew sizes

notwithstanding the 3R Act’s express preemption clause. Each time such a law or regulation has

been challenged in litigation, the court has concluded that it was preempted under the 3R Act.

See, e.g., Norfolk & W. Ry. Co. v. Pub. Serv. Comm’n of W. Va., 858 F. Supp. 1213, 1217 (Reg’l

Rail Reorg. Ct. 1994) (West Virginia minimum crew size law preempted); Keeler v. Consol. Rail

Corp., 582 F. Supp. 1546, 1550 (Reg’l Rail Reorg. Ct. 1984) (Indiana minimum crew size law

preempted).

       38.     Most recently, in 2021, the U.S. District Court for the Northern District of Illinois

held that the 3R Act preempted Illinois’ minimum crew size law. See Ind. R.R. Co., 576 F. Supp.

3d 571. Like Ohio’s Crew Size Law, Illinois’ law provided that “No rail carrier shall operate or

cause to operate a train or light engine used in connection with the movement of freight unless it

has an operating crew of at least 2 individuals.” Id. at 573.

       39.     As the court explained, “Illinois wants to mandate a crew size of two to perform

the task, function or operation of moving freight with a train or light engine; this is exactly what

the 3R Act prohibits.” 576 F. Supp. 3d at 576. And because the 3R “Act defined a region that

includes Illinois, and set out certain restrictions on how states in that region can regulate

railroads … Illinois must abide by those restrictions.” Id. at 577. But, “in passing the Crew Size

Law, it failed to do so.” Id. Thus, the court declared Illinois’ crew size law preempted. Id.




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       C.        FRA Has Considered Minimum Crew Size And Concluded That No
                 Regulation Is Appropriate In Certain Contexts.

       40.       “Historically, crew size has been an issue for labor relations.” 81 Fed. Reg. at

13,937. That is, debates over crew size have historically been resolved through collective

bargaining between railroads and unions rather than under the guise of safety regulation.

       41.       At the federal level, FRA has historically declined to regulate minimum crew size,

but instead recognized that railroads may operate with a single crew member in a variety of

circumstances.

       42.       For example, in the 1990s, FRA “considered and promulgated regulations

governing when blue signal protection had to be used when a lone engineer performed hostling

or helper service.” Doyle, 186 F.3d at 801. Initially, FRA issued a regulation permitting a one-

person crew “to work on, under, or between rolling stock” in a railroad yard “without blue signal

protection only if certain specified conditions were met.” Id. at 799. But FRA later “suspended

the regulation placing additional requirements on one-person crews,” thereby permitting such

operations to continue without restriction. Id. at 801.

       43.       Similarly, FRA has issued extensive regulations governing remote control

operations. See 49 C.F.R. § 229.15 (2012). These regulations expressly contemplate and permit

one-person crews in various contexts. Id. In 2001, FRA issued a safety advisory recognizing

that remote control locomotives—that is, a “locomotive which, through use of a radio transmitter

and receiver system, can be operated by a person not physically located at the controls within the

confines of the locomotive cab”—had “been in use for a number of years.” FRA, Notice of

Safety Advisory 2001-01, 66 Fed. Reg. 10,340, 10,340 (Feb. 14, 2001). FRA issued guidance for

conducting operations safely, while expressly declining to prohibit them. See id. at 10,343.




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       44.     In 2009, FRA denied a petition from a labor union to prohibit one-person

operating crews, including for remote control locomotive operations. See Denial of BLET

Petition on RCO and Other Single-Person Operations, supra. FRA explained that it had “no

factual evidence to support the prohibition against one-person crew operations.” Id.

       45.     In March 2016, FRA for the first time proposed regulations for minimum crew

size. 81 Fed. Reg. 13,918. FRA acknowledged that it could not “provide reliable or conclusive

statistical data to suggest whether one-person crew operations are generally safer or less safe

than multiple-person crew operations.” Id. at 13,919.

       46.     FRA’s proposed regulations contemplated that one-person crew operations would

be used in a variety of situations. For example, the minimum-crew-size requirement would not

have applied to most helper service, lite locomotive, or certain remote control operations. 81

Fed. Reg. at 13,946-47. FRA also proposed an exception for small railroads, permitting them to

use one-person crew operations where train speeds did not exceed 25 mph and at locations

without heavy grades. Id. at 13,949.

       47.     Moreover, FRA did not propose to stop existing one-person operations or to

prohibit new operations. Instead, FRA proposed to review one-person operations on a case-by-

case basis and generally “plan[ned] to approve operations with less than two crewmembers

where a railroad provide[d] a thorough description of that operation, ha[d] sensibly assessed the

risks associated with implementing it, and ha[d] taken appropriate measures to mitigate or

address any risks or safety hazards that might arise from it.” 81 Fed. Reg. at 13,957.

       48.     Before issuing the NPRM, FRA tasked the Railroad Safety Advisory Committee

(“RSAC”), FRA’s federal advisory committee that has representatives from all of the agency’s

major stakeholder groups, with considering appropriate train crew size. FRA lacked “reliable or



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conclusive statistical data to suggest whether one-person crew operations are safer or less safe

than multiple-person crew operations.” FRA, Train Crew Staffing, 84 Fed. Reg. 24,735, 24,735

(May 19, 2019). FRA “hoped that RSAC would provide useful analysis, including conclusive

data addressing whether there is a safety benefit or detriment from crew redundancy (i.e.,

multiple-person train crews) and a report on the costs and benefits associated with crew

redundancy.” Id. But “the RSAC Working Group was unable to reach consensus on any

recommendation or identify conclusive, statistical data to suggest whether there is a safety

benefit or detriment from crew redundancy.” Id. at 24,736. Thus, FRA issued the NPRM to

“give the broader public an opportunity to provide input on th[e] issue.” Id.

       49.     After considering extensive comments and testimony, FRA found “that no

regulation of train crew staffing is necessary or appropriate at this time.” 84 Fed. Reg. at 24,737.

The agency concluded: “[D]espite studying this issue in-depth and performing extensive

outreach to industry stakeholders and the general public, FRA’s statement in the NPRM that it

‘cannot provide reliable or conclusive statistical data to suggest whether one-person crew

operations are generally safer or less safe than multiple-person crew operations’ still holds true.”

Id.

       50.     In particular, “FRA’s accident/incident safety data do[ ] not establish that one-

person operations are less safe than multi-person train crews.” 84 Fed. Reg. at 24,739 (footnote

omitted). Reviewing data from a seventeen-year period ending in 2018, FRA “could not

determine that any of the accidents/incidents involving a one-person crew would have been

prevented by having multiple crewmembers.” Id. (emphasis added). Indeed, “existing one-

person operations ‘have not yet raised serious safety concerns’ and, in fact, ‘it is possible that

one-person crews have contributed to the [railroads’] improving safety record.’” Id.



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       51.     Moreover, the comments FRA received did “not provide conclusive data

suggesting that there have been any previous accidents involving one-person crew operations

that could have been avoided by adding a second crewmember or that one-person crew

operations are less safe.” 84 Fed. Reg. at 24,740.

       52.     Although FRA’s extensive review did not suggest any safety benefits from

establishing minimum-crew-size requirements, FRA concluded that establishing those

requirements would impose significant costs. Specifically, “[a] train crew staffing rule would

unnecessarily impede the future of rail innovation and automation.” 84 Fed. Reg. at 24,740

(cleaned up). FRA explained that the Department of Transportation (“DOT”) had “recognized

that the integration of technology and automation across our transportation system has the

potential to increase productivity, facilitate freight movement, create new kinds of jobs, and,

most importantly, improve safety significantly by reducing accidents caused by human error.”

Id. “DOT’s approach to achieving safety improvements begins with a focus on removing

unnecessary barriers and issuing voluntary guidance, rather than regulations that could stifle

innovation.” Id. Establishing minimum-crew-size requirements would have imposed “a

potential barrier to automation or other technology improvements” and could not be justified

“without sufficient safety data showing the need for such a rule.” Id.

       53.     Thus, FRA decided to withdraw the NPRM, publishing a final order to that effect

on May 29, 2019. In doing so, FRA “determined that no regulation of train crew staffing is

necessary or appropriate at this time and intend[ed] for the withdrawal to preempt all state laws

attempting to regulate train crew staffing in any manner.” 84 Fed. Reg. at 24,741.

       54.     In 2021, a panel of the U.S. Court of Appeals for the Ninth Circuit vacated the

withdrawal order. See Transp. Div. of Int’l Ass’n of Sheet Metal, Air, Rail & Transp. Workers v.



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FRA, 988 F.3d 1170 (9th Cir. 2021). The court “conclude[d] that the issuance of the Order

violated the APA’s notice-and-comment requirements and that the Order is arbitrary and

capricious.” Id. at 1179. But the court did not conclude that a crew-size rule was warranted or

that the evidence showed two-person crews would increase safety.

       55.      In 2022, the FRA issued a new NPRM entitled Train Crew Size Safety

Requirements, 87 Fed. Reg. 45,564.

       56.      In the NPRM, FRA recognized that one-person crews have been used for decades

in specific circumstances. For example, “over the last 25 years, remotely controlled locomotive

operations utilizing only a one-person crew for switching service have become commonplace.”

87 Fed. Reg. at 45,567. Similarly, “railroads commonly use one-person crews safely in helper

service”—that is, “a train that is assisting another train that has incurred a mechanical failure or

lacks the power to traverse difficult terrain.” Id. at 45,565. And several short line railroads have

used one-person crews for over-the-road operations safely for many years. See id. at 45,568.

       57.      Generally, the NPRM requires railroads that wish to transition to operations with

fewer than two crewmembers “to consider and address the safety risks of doing so by conducting

a risk assessment of the proposed operation.” 87 Fed. Reg. at 45,564.

       58.      FRA proposed to categorically exempt “helper service” and “lite locomotive”

operations from any crew size mandate. See 87 Fed. Reg. at 45,617 (“The train is performing

helper service, i.e., using a locomotive or group of locomotives to assist another train that has

incurred mechanical failure or lacks the power to traverse difficult terrain. Helper service

includes traveling to or from a location where assistance is provided” or “[t]he train is a

locomotive or a consist of locomotives not attached to any piece of equipment or attached only to

a caboose.”).



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       59.     FRA also proposed to exempt certain small railroad operations and remote control

operations from any crew size mandate. See 87 Fed. Reg. at 45,618.

       60.     And FRA proposed a special approval process for continuance of legacy train

operations staffed with a one-person train crew. See 87 Fed. Reg. at 45,618.

       61.     FRA has not yet finalized its proposed train crew staffing rule.

       D.      Ohio Enacts A Law Requiring Two-Person Crews.

       62.     On March 31, 2023, Governor DeWine signed the Crew Size Law, codified at

Ohio Rev. Code § 4999.09, into law.

       63.     Section 4999.09(A) states that the Crew Size Law’s requirements “are solely

related to safety, including ensuring that no train or light engine used in connection with the

movement of freight in this state is left without a functional crew person as a result of a medical

emergency.”

       64.     Section 4999.09(B) provides that “[a] train or light engine used in connection

with the movement of freight shall have a crew that consists of at least two individuals” and

states that “[n]o superintendent, trainmaster, or other employee of a railroad shall order or

otherwise require a train or light engine used in connection with the movement of freight to be

operated unless it has a crew that consists of at least two individuals.”

       65.     Unlike FRA’s proposed regulation, which includes significant exceptions from its

two-person crew requirement for particular types of trains or trains operating under specified

conditions, establishes a special approval process for existing one-person crew operations, and

contemplates new one-person operations with FRA approval, the Crew Size Law applies to every

train or light engine used in connection with the movement of freight, except for “hostler service

or utility employees.” Ohio Rev. Code § 4999.09(B).



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       66.     The Public Utilities Commission is authorized to “assess a civil penalty against a

person who willfully violates” the Crew Size Law’s requirements. Ohio Rev. Code

§ 4999.09(C)(1). Those penalties can range from $250 to $10,000. Id. § 4999.09(C)(1)(a)-(c).

       67.     The Attorney General, “upon the request of the public utilities commission, shall

bring a civil action to collect the penalties described in division (C)(1) of this section.” Ohio

Rev. Code § 4999.09(C)(2).

       68.     The Crew Size Law takes effect on June 30, 2023.

       E.      The Crew Size Law Will Injure Plaintiff’s Members.

       69.     AAR members operating in Ohio must comply with the Crew Size Law as of June

30, 2023. Failure to comply with the Crew Size Law could result in significant penalties, while

complying with the Crew Size Law will require AAR’s members to give up their rights under

federal law.

       70.     The Crew Size Law thus will present AAR’s members with the Hobson’s choice

of complying with the Crew Size Law or suffering the threat of significant penalties. See, e.g.,

Morales v. Trans World Airlines, Inc., 504 U.S. 374, 381 (1992) (“irreparable injury” existed

where states “made clear that they would seek to enforce” law and plaintiffs faced “Hobson’s

choice” of “expos[ing] themselves to potentially huge liability” or “suffer[ing] the injury of

obeying” law); Am.’s Health Ins. Plans v. Hudgens, 742 F.3d 1319, 1334 (11th Cir. 2014)

(“[a]bsent an injunction, [plaintiffs] will be forced either to incur the costs of compliance with a

preempted state law or face the possibility of penalties”).

       71.     AAR’s members that operate in Ohio face the loss of their ability to use one-

person crews for specific operations. For example, AAR’s members currently have the ability

under their labor agreements to use one-person crews to operate remote control locomotives in

Ohio. AAR requested confirmation from the Ohio Attorney General that such operations are not

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restricted by the Crew Size Law, which expressly exempts “hostler service or utility employees.”

Oho Rev. Code § 4999.09(B). Yet the Ohio Attorney General declined to “agree to an

interpretation that would exempt in-yard service from the prescribed crew size standards.” As a

result, AAR’s members will face uncertainty about the continuing ability to exercise their

operational rights with respect to in-yard remote control operations as soon as the Crew Size

Law becomes effective.

       72.     AAR’s members will also suffer harm to their rights to collectively bargain over

crew size. The carriers that operate in Ohio have the right to bargain for system-wide changes in

crew size. The Crew Size Law will interfere with the railroads’ ability to expand their rights to

operate with one-person crews in Ohio through collective bargaining.

       73.     Plaintiff’s members have no adequate remedy at law for these harms that they will

suffer, and therefore injunctive relief is appropriate.

                                      CLAIMS FOR RELIEF

                                       Claim One
                   Preemption Under The Regional Rail Reorganization Act

       74.     Plaintiff incorporates all preceding paragraphs by reference.

       75.     When a state or local law conflicts with or stands as an obstacle to the objectives

of a federal law or intrudes on a field that Congress reserved for the federal government, the

Supremacy Clause of the Constitution of the United States preempts that state or local law.

       76.     The Crew Size Law conflicts with and is expressly preempted by Section 711 of

the Regional Rail Reorganization Act (“3R Act”), as amended by Section 1143(a) of the

Northeast Rail Service Act, 45 U.S.C. § 797j.

       77.     As amended, Section 711 of the 3R Act provides that:

       No State may adopt or continue in force any law, rule, regulation, order, or
       standard requiring the Corporation [Conrail] to employ any specified number of

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          persons to perform any particular task, function, or operation, or requiring the
          Corporation to pay protective benefits to employees, and no State in the Region
          may adopt or continue in force any such law, rule, regulation, order, or standard
          with respect to any railroad in the Region.

45 U.S.C. § 797j (emphasis added).

          78.    Ohio is a “State in the Region” as defined by Section 102 of the 3R Act, see 45

U.S.C. § 702(17), (19).

          79.    The railroads that operate in Ohio are “railroad[s] in the Region” as defined by

Section 102 of the 3R Act, see 45 U.S.C. § 702(15), (17).

          80.    As the statutory text reflects, this express preemption provision applies to all

railroads in the specified area, not just to Conrail and its successors. See Norfolk & W. Ry. Co. v.

Pub. Utils. Comm’n of Ohio, 582 F. Supp. 1552, 1556 (Reg’l Rail Reorg. Ct. 1984) (“The

legislative goal was to give Conrail the opportunity to become profitable, but not necessarily to

disadvantage all other railroads at the same time.”).

          81.    Because the Crew Size Law specifies that “at least two individuals” must be used

to operate any freight train or light engine, Ohio Rev. Code § 4999.09(B), it is a “law” requiring

a “specified number of persons to perform any particular task, function, or operation,” 45 U.S.C.

§ 797j.

          82.    Because the Crew Size Law requires freight railroads in the Region to employ a

specified number of persons to operate any train or light engine, it conflicts with and is

preempted by the 3R Act, as amended. See, e.g., Ind. R.R. Co., 576 F. Supp. 3d at 577 (Illinois

two-person crew law preempted).

                                         Claim Two
                          Preemption Under The ICC Termination Act

          83.    Plaintiff incorporates all preceding paragraphs by reference.




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       84.     When a state or local law conflicts with or stands as an obstacle to the objectives

of a federal law or intrudes on a field that Congress reserved for the federal government, the

Supremacy Clause of the Constitution of the United States preempts that state or local law.

       85.     The Crew Size Law conflicts with and is preempted by ICCTA, which provides

that “[t]he jurisdiction of the [STB] over … transportation by rail carriers, and the remedies

provided in this part with respect to rates, classifications, rules (including car service,

interchange, and other operating rules), practices, routes, services, and facilities of such carriers

… is exclusive.” 49 U.S.C. § 10501(b) (emphasis added).

       86.     Because ICCTA’s remedies are “exclusive,” they “preempt the remedies provided

under Federal or State law.” 49 U.S.C. § 10501(b).

       87.     “Congress’s intent in [ICCTA] to preempt state and local regulation of railroad

transportation has been recognized as broad and sweeping.” Union Pac. R.R. Co. v. Chi. Transit

Auth., 647 F.3d 675, 678 & n.1 (7th Cir. 2011) (collecting cases). “Congress recognized that

continuing state regulation—of intrastate rail rates, for example—would risk the balkanization

and subversion of the Federal scheme of minimal regulation for this intrinsically interstate form

of transportation.” Iowa, Chi. & E. R.R. Corp. v. Wash. Cty., 384 F.3d 557, 559 (8th Cir. 2004).

       88.     ICCTA “preempts all state laws that may reasonably be said to have the effect of

managing or governing rail transportation, while permitting the continued application of laws

having a more remote or incidental effect on rail transportation.” Delaware v. STB, 859 F.3d 16,

18 (D.C. Cir. 2017) (emphasis added). “[S]tate or local statutes or regulations are preempted

categorically if they have the effect of managing or governing rail transportation.” Id. at 19

(emphasis added; quotation marks omitted). And even state laws “that are not categorically




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preempted may still be impermissible if, as applied, they would have the effect of unreasonably

burdening or interfering with rail transportation.” Id.

       89.     The Crew Size Law conflicts with and is preempted by ICCTA because it will

manage, govern, unreasonably burden, and unreasonably interfere with rail transportation. When

the Crew Size Law takes effect, it will forbid freight railroads from operating with a single crew

member. Under the Law, it does not matter whether operating with a single crew member is just

as safe as—or even safer than—operating with multiple crew members, whether a railroad

operates with a single crew member in adjacent states, or even whether the railroad has a

collective bargaining agreement permitting single-person operations. The Crew Size Law thus

imposes the balkanized system of transportation regulations that ICCTA was designed to

prevent.

                                      Claim Three
                     Preemption Under The Federal Railroad Safety Act

       90.     Plaintiff incorporates all preceding paragraphs by reference.

       91.     When a state or local law conflicts with or stands as an obstacle to the objectives

of a federal law or intrudes on a field that Congress reserved for the federal government, the

Supremacy Clause of the Constitution of the United States preempts that state or local law.

       92.     The Crew Size Law is expressly preempted by FRSA, 49 U.S.C. § 20106, to the

extent that it requires two-person crews for helper service and/or remote control operations.

       93.     In FRSA, Congress directed that “[l]aws, regulations, and orders related to

railroad safety” must be “nationally uniform to the extent practicable.” 49 U.S.C. § 20106(a)(1).

To secure national uniformity, FRSA provides that a state law is preempted when FRA, under

authority delegated from the Secretary of Transportation, “prescribes a regulation or issues an

order covering the subject matter of the State requirement.” Id. § 20106(a)(2). A federal


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regulation or order covers the subject matter of a state law when “the federal regulations

substantially subsume the subject matter of the relevant state law.” CSX Transp., Inc. v.

Easterwood, 507 U.S. 658, 664 (1993).

       94.     As the Sixth Circuit has explained, FRA’s “explicit refusal to adopt a regulation”

regarding a particular subject matter amounts to “a determination” that no such regulation is

“appropriate, and thus amount[s] to negative preemption” of any such state regulation. Norfolk

& W. Ry. Co., 926 F.2d at 570. In other words, when “FRA examines a safety concern regarding

an activity and affirmatively decides that no regulation is needed, this has the effect of being an

order that the activity is permitted.” Doyle, 186 F.3d at 801.

       95.     That is exactly what FRA did with respect to helper service. As the Seventh

Circuit explained in Doyle, “FRA considered and promulgated regulations governing when blue

signal protection had to be used when a lone engineer performed … helper service.” 186 F.3d at

801. It then “suspended the regulation placing additional requirements on one-person crews.”

Id. As that process showed, FRA “considered the issue of safety for one-person crews

conducting” helper service “and whether additional precautions were needed,” and “ultimately

decided not to impose any.” Id. FRA’s “specific conclusion that” helper service was “safe

without added precautions encompasses the more general one that they are safe.” Id. at 802.

Thus, Ohio’s “requirement that two persons conduct [such] operations directly contradicts”—and

is preempted by—“FRA’s decision that one person may do them safely.” Id.

       96.     That is also what FRA did with respect to remote control operations in yards. In

2001, FRA issued a safety advisory to provide guidance for conducting such operations safely,

while expressly declining to prohibit them. 66 Fed. Reg. at 10,343. In 2009, FRA denied a

petition from a labor union to prohibit one-person operating crews, including remote control



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locomotive operations. See Denial of BLET Petition on RCO and Other Single-Person

Operations, supra. And FRA has since promulgated extensive regulations covering remote

control operations, without prohibiting one-person crews. See 49 C.F.R. § 229.15.

       97.       Notably, although FRA is currently considering whether to adopt a nationwide

crew size rule, its proposed rule categorically exempts both helper service and remote control

operations, thus preserving the status quo—no minimum crew size regulation is necessary or

appropriate. See 87 Fed. Reg. at 45,617-18.

       98.       The Crew Size Law requires two-person crews for every train or light engine used

in connection with the movement of freight, except for “hostler service or utility employees.”

Ohio Rev. Code § 4999.09(B).

       99.       The Crew Size Law is preempted by FRSA to the extent it mandates a minimum

number of crew members for helper service or remote control operations. FRA’s “order[s]

covering the subject matter” of minimum crew size for such operations leave no room for Ohio

to adopt or continue in force a law regulating train crew staffing for them. 49 U.S.C.

§ 20106(a)(2).

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff AAR respectfully requests that this Court:

       A.        Declare that the Crew Size Law violates and is preempted by the 3R Act, as

                 amended, ICCTA, and in part by FRSA;

       B.        Preliminarily and permanently enjoin Defendants, as well as their officers, agents,

                 servants, employees, and attorneys, and those persons acting in concert or

                 participation with them, from taking any action to enforce the Crew Size Law

                 against AAR or its members; and

       C.        Grant AAR any other relief this Court deems just and proper.

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Dated: June 29, 2023                Respectfully submitted,

                                    /s/ Jonathan N. Olivito
                                    Jonathan N. Olivito (0092169), Trial Attorney
                                    Amy D. Vogel (0075169)
                                    TAFT STETTINIUS & HOLLISTER LLP
                                    41 S. High Street, Suite 1800
                                    Columbus, OH 43215-4213
                                    Phone: (614) 221-2838
                                    Fax: (614) 221-2007
                                    jolivito@taftlaw.com
                                    avogel@taftlaw.com

                                    Thomas H. Dupree Jr.*
                                    Jacob T. Spencer*
                                    GIBSON, DUNN & CRUTCHER LLP
                                    1050 Connecticut Avenue, NW
                                    Washington, DC 20036
                                    (202) 955-8500
                                    tdupree@gibsondunn.com

                                    * Pro Hac Vice applications forthcoming

                                    Attorneys for Plaintiff AAR




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